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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                    )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                               )
                                                )       Judge Dan Aaron Polster
THIS DOCUMENT RELATES TO:                       )
“All cases”                                     )
                                                )       ORDER AMENDING DATES
                                                )       RE DOCKET NO. 5455

        With its Order at docket no. 5455, the Court set deadlines for briefing of motions to amend

complaints. The Court understands the PEC and numerous defendants are working to achieve

settlements before the deadline for filing motions to amend, and the mediator has suggested that a short

postponement of that deadline would be helpful. Accordingly, the Court amends the briefing schedule

by pushing the deadlines back one week, as follows:

July 29, 2024, at 4:00 PM: The PEC shall file motions to amend complaints.

September 30, 2024, at 4:00 PM: Defendants shall file a response.

October 28, 2024, at 4:00 PM: The PEC shall file a reply.

        The Court is committed to ensuring any settlement agreements reached before the July 29, 2024

motion deadline, and afterwards, are fully consummated, and will work with the mediator and counsel

as necessary to resolve any lingering issues.

        IT IS SO ORDERED.


                                                        /s/ Dan Aaron Polster
                                                        DAN AARON POLSTER
                                                        UNITED STATES DISTRICT JUDGE

DATED: July 15, 2024
